         Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 1 of 8 PageID #:4750




                                  UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION
    Jordan Penland, et al.,

          Plaintiffs,
                                                     No. 21 CV 5581
    v.
                                                     Judge Lindsay C. Jenkins
    Chicago Park District, et al.,

          Defendants.


                                MEMORANDUM OPINION AND ORDER

            Plaintiffs Jordan Penland, Karl Gerner, Edward (Ted) Burke, and Paul C.
Burke 1 filed this lawsuit in October 2021 and filed the operative Second Amended
Complaint in March 2023. [Dkt. 84.] Plaintiffs allege that the Chicago Park District
and Soldier Field’s Management Company, SMG 2 violated the Illinois Human Rights
Act by denying them the full and equal enjoyment of the 2019 Gold Cup Final Soccer
Match held at Soldier Field. The parties have filed cross motions for summary
judgment. [Dkt. 142, 145.] For the reasons explained below, the Court grants
Defendants’ motion for summary judgment and denies Plaintiffs’ motion.

I.          Factual Background 3

       Penland, Gerner, and Paul are gay men, and Ted is a heterosexual man. [Dkt.
154 at ¶¶ 1, 3.]4 All the Plaintiffs bought tickets to the Gold Cup Final (“the Match”)
of the Confederation of North, Central America and Caribbean Association Football
between the U. S. Men’s National Soccer Team and the Mexico Men’s National Soccer
Team, which occurred on July 7, 2019, at Soldier Field in Chicago, Illinois. [Id. at
¶ 2.] Chicago Park District (CPK) owns Soldier Field and had a contractual
relationship with ASM Global/SMG to serve as general manager and operator of
Soldier Field. This included responsibility for security and crowd management during


1      The Court refers to Ted and Paul Burke by first name.
2      Defendant SMG was served as “ASM Global,” and Plaintiffs often use the abbreviation
“ASM.” The Court uses SMG to reflect the name used by employees of this entity. [Dkt. 147-
10 at 10:22–24.]
3      The Court draws on the parties’ Local Rule 56.1 statements to recount the facts, which
are undisputed unless otherwise noted.
4      Ted Burke’s sexuality is not explicitly articulated in either parties’ Rule 56.1
statement, but it is mentioned in the operative complaint. [Dkt. 84 at ¶ 3.] Ted Burke’s
sexuality does not impact the application of the IHRA in this case, which protects against
discrimination based on actual or perceived sexual orientation. 775 ILCS 5/1-103(Q).
                                               1
  Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 2 of 8 PageID #:4751




events at Soldier Field. [Id. at ¶¶ 4–6.] SMG, in turn, contracted with Monterrey
Security, a private entity, to provide security services at Soldier Field for over two
decades, including during the Match. [Id. at ¶ 9, 11.] Defendants dispute the specific
security services SMG was responsible for providing during the Match, but it is
undisputed that SMG and its subcontractor provided security services at Soldier
Field. [Id. at ¶ 10.]

       The Chant “eeeh puto!” is a homophobic slur and vulgar term for a male sex
worker. [Id. at ¶ 12.] At matches between the U.S. and Mexican men’s national teams
in other venues, Plaintiffs had the Chant directed at them, with one instance
escalating to physical violence against Paul and Ted Burke. [Id. at ¶ 16.] Prior to the
Match at Soldier Field, Paul sent identical emails to CPK and SMG warning them
about the Chant, outlining its history, and asking Defendants to take steps to “stop
homophobic fan misconduct.” [Id. at ¶ 28.] CPK disputes whether it received the
email, but SMG admits that it did. [Id. at ¶ 29.] SMG circulated the email to senior
managers and outside counsel. [Id. at ¶ 34.] Paul never received a response from
either Defendant. [Id. at ¶ 30.] Other than sending the email to senior managers and
outside counsel, SMG did not change any of its normal procedures to address the
Chant before the Match. [Id. ¶ 37.]

       Soldier Field has a Code of Conduct, but the parties dispute who maintains
and enforces it. [Dkt. 156 at ¶ 16–19.] Defendants claim to generally prioritize de-
escalation services when addressing security incidents at Soldier Field, but Plaintiffs
dispute this by pointing to instances when individuals were removed from the
stadium for one reason or another. [Id. at ¶ 22.] It is undisputed that the Defendants
used the same preparations and procedures leading up to the Match as they did for
all other events held at Soldier Field in and around 2019. [Id. at ¶ 40.]

       On the day of the Match, Plaintiffs wore U.S. Men’s National Soccer Team
Pride Month jerseys to the Gold Cup Final. [Dkt. 154 at ¶ 3.] The rainbow numbering
on the back of the jerseys “enabled other attendees, as well as stadium officials, to
identify and associate each Plaintiff with the LGBTQ+ community.” [Id.]

       Once the Match began, the Chant occurred at least four times in the first ten
minutes. [Id. at ¶ 41.] After repeatedly hearing the Chant, Paul sent a text message
to the fan security number posted on Soldier Field’s website asking officials to “stop
this misconduct and enforce the stadium code of conduct.” [Id. at ¶ 42.] SMG posted
an incorrect security number, and its command center did not receive any messages
during the Match. [Id. at ¶¶ 45–46.] Plaintiffs testified that they felt targeted by the
crowd and the people sitting around them who repeated the Chant, and they felt
unsafe throughout the Match. [Id. at ¶¶ 47–48.] Plaintiffs admit they used the
restroom and purchased concessions, but allege they altered their behavior
throughout the Match by traveling in pairs or drinking less alcohol because they
feared for their safety. [Dkt. 156 at ¶¶ 55–57.] Plaintiffs considered moving seats but

                                           2
      Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 3 of 8 PageID #:4752




decided against it. [Id. at ¶ 61.] Plaintiffs’ tickets “did not expressly provide” an option
to move sections. [Id.]

       Paul spoke to an usher or security official during halftime to express
disappointment with the inaction to address the Chant. The identity and security-
related responsibilities, if any, of the actual person Paul spoke with is unknown (and
thus is disputed). [Dkt. 154 at ¶¶ 49, 51.] Defendants admit that the typical protocol
for a security official “when confronted with a fan safety issue is to contact a
supervisor, which would then be communicated to the Command Center.” [Id. at
¶ 51.] Ultimately, the Chant occurred 28 times. [Id. at ¶ 76.] Plaintiffs stayed at
Soldier Field for the entire Match, but say they opted to stay well after the event
ended due to safety concerns. [Dkt. 156 at ¶ 68.] There is no evidence of anyone being
physically harmed at Soldier Field on the day of the Match due to the Chant. [Id. at
¶ 70.]

II.      Legal Standard

        Summary judgment is proper where “the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 323
(1986). When reviewing cross-motions for summary judgment, all facts and
reasonable inferences are construed in favor of the party “against whom the motion
under review was made.” Frazier-Hill v. Chicago Transit Auth., 75 F.4th 797, 801
(7th Cir. 2023). A genuine issue of material fact exists if “the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986); see also Birch|Rea Partners, Inc. v. Regent
Bank, 27 F.4th 1245, 1249 (7th Cir. 2022). The Court “may not make credibility
determinations, weigh the evidence, or decide which inferences to draw from the
facts; these are jobs for a factfinder.” Johnson v. Rimmer, 936 F.3d 695, 705 (7th Cir.
2019) (internal quotation omitted). But defeating summary judgment requires
evidence, not mere speculation. See Weaver v. Champion Petfoods USA Inc., 3 F.4th
927, 934 (7th Cir. 2021).

III.     Analysis

       Under the Illinois Human Rights Act, “[i]t is a civil rights violation for any
person on the basis of unlawful discrimination to…[d]eny or refuse to another the full
and equal enjoyment of the facilities, goods, and services of any public place of
accommodation.” 775 ILCS 5/5-102. Illinois courts have identified that “[a]s remedial
legislation, the Act must be liberally construed to achieve its purpose.” M.U. by and
through Kelley U. v. Team Illinois Hockey Club, 240 N.E.3d 446, 453 (Ill. 2024) (citing
Sangamon Cnty. Sheriff’s Dept. v. Ill. Hum. Rts. Comm’n, 557 N.E.3d 39 (Ill. 2009)).




                                             3
    Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 4 of 8 PageID #:4753




       To establish a prima facie public accommodation case, a Plaintiff must show
the following: “(1) he is a member of a protected class, (2) he attempted to exercise
the right to the full benefits and enjoyment of a place of public accommodation, (3) he
was denied those benefits and enjoyment, and (4) he was treated less favorably than
similarly situated persons outside of his protected class.” Straw v. Ill. State Bd. Of
Elections, 2020 WL 5536728 at *6 (Ill. App. Ct. Sept. 15, 2020), appeal denied, 159
N.E.3d 945 (Ill. 2020).

       Here, the parties do not dispute that Plaintiffs are members of a protected class
and that they attempted to exercise the full benefits and enjoyment of a place of public
accommodation. The parties disagree on the final two prima facie showings: what
services Plaintiffs were denied and whether Plaintiffs were treated less favorably
than those outside their protected class. The Court considers each below.

       A.     Denial of Benefits and Enjoyment

        To establish a public accommodation claim, a plaintiff must show that a
defendant deprived her of a preexisting good or service; 5 a plaintiff cannot bring a
public accommodation case arising from a service a defendant did not provide. Straw,
2020 WL 5536728 at *6 (“[G]ranting the accommodations requested by Straw did not
fall within the scope of services provided by the Board, and, thus, any denial of those
accommodations cannot be considered a denial of the Board’s services.”) The Illinois
Human Rights Commission has identified that “[t]he meaning of full and equal
enjoyment encompasses customers being able to fully avail themselves of all services
offered by a public place of accommodation.” In the Matter of the Request for Review
By: Melissa “Skyler” Hyatt, Petitioner, 2024 WL 2845071 at *3 (Ill. Hum. Rts. Comm’n
May 29, 2024); see also Hobby Lobby Stores, Inc. v. Sommerville, 186 N.E.3d 67, 78
(Ill. Ct. App. Aug. 13, 2021).

      Plaintiffs argue that they “were denied the full and equal enjoyment of Soldier
Field during the 2019 Gold Cup Final because they were subjected to unaddressed
and unabated discriminatory conduct targeting them as gay men,” including through
an increased potential of physical danger. [Dkt. 146 at 13–16.] They maintain that
they requested assistance and security services both before and during the Match,
but Defendants “provided no crowd management services to address, let alone stop,
the Chant.” [Id. at 14.]

       Defendants argue that Plaintiffs were not denied the benefits and enjoyment
of a place of public accommodation because they received every good and service they

5       Because the Court concludes there was denial of a service, it does not address
Plaintiffs alternative argument—“that public accommodation claims do not necessarily have
to include a traditional ‘denial of service’ requirement.” [Dkt. 146 at 20 (citing Turner g.
Wong, 832 A.2d 340, 345–46 (N.J. Super. Ct. App. Div., 2003); Kirt v. Fashion Bug | 3253,
Inc., 479 F.Supp.2d 938, 942–43 (N.D. Iowa 2007).]
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  Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 5 of 8 PageID #:4754




contracted for when purchasing tickets—including taking their seats, watching the
Match, wearing their jerseys, using the restroom, purchasing concessions, etc.—such
that “they were able to access, enjoy and participate in the full experience of”
attending the Match. [Dkt. 143 at 22 (citing Gaylord v. IHRC, 2020 WL 2791827, at
*5 (Ill. App. Ct. 2020) (no discrimination where white woman received services before
a Black man because he ultimately received services); Mallett v. Human Rights
Comm’n, 2021 WL 1856925 (Ill. Ct. App. 2021) (no discrimination arising from a delay
rather than a denial of service).] Relying on the Court’s prior order at the motion to
dismiss stage, (see dkt. 77 at 10), Defendants maintain that Plaintiffs’ claim
necessarily fails because it is premised on the failure to create a service, specifically
“that Defendants should have done more” in advance of or in response to the Chant,
including by responding to Paul’s pre-Match email, responding to his text message to
the fan security number, or reprimanding or ejecting fans who participated in the
Chant. [Dkt. 143 at 22.]

      It is true that many of the relevant Local Rule 56.1 statements are premised
on how Defendants should have changed or implemented existing preparation and
crowd management strategies in response to Paul’s email, text message, and in-
person complaints of inaction. For example, Plaintiffs emphasize that Defendants
never “had, or modified, its crowd management plan or security services to address
the Chant, or even alerted its workforce about the Chant.” [Dkt. 146 at 7, Dkt. 154,
¶¶ 37, 38.] They also list more than a dozen crowd management procedures
Defendants could have, but did not, implement at the Match. [Dkt. 154, ¶ 78.]

       Nevertheless, the core of Plaintiffs’ claim is that Defendants failed to provide
“security, usher, and Code of Conduct enforcement services, which were all ‘existing’
services Defendants provided to others at the Match.” [Dkt. 163 at 6.] There is no
genuine dispute that security services, including in the form of Soldier Field’s Code
of Conduct, existed at the time of the Match. [Dkt. 154 at ¶¶ 56–59.] As explained in
the prior Order, denial of existing services arguably includes the failure to provide
existing security services. [Dkt. 77 at 9–10 (explaining that the “denial of a concrete
service (such as security) suggests a more traditional claim of disparate treatment
discrimination.”)]

      The Code of Conduct states:

      Unruly or inconsiderate behavior will not be tolerated and may be
      grounds for ejection from the stadium, revocation of ticket privileges,
      and subject to civil action and criminal action. Such behavior includes,
      but is not limited to: intoxication, profane, disruptive or abusive
      language or gestures, offensive or disorderly conduct, throwing objects,
      excessive standing in the seating area, smoking anywhere in the
      stadium, bringing any prohibited items into the stadium, entering or
      attempting to enter the field level or playing field. [Dkt. 154, ¶ 57.]

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  Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 6 of 8 PageID #:4755




It is undisputed that the Code was in effect as of July 2019, and that SMG, through
Monterrey, was responsible for its enforcement. [Id., ¶ 57, 59.] The Code established
actions officials could take in response to abusive language and offensive or disorderly
conduct, including a warning, ejection, revocation of ticket privileges, or arrest. [Id.
at ¶¶ 58, 59, 67, 70.] Given these undisputed facts, Plaintiffs have demonstrated that
they requested but were denied security services and that security was a preexisting
service Defendants provided.

      B.     Less Favorable Treatment

       A public accommodation claim also requires a plaintiff to show that “he was
treated less favorably than similarly situated persons outside of his protected class.”
Straw, 2020 WL 5536728 at *6. Plaintiffs argue that they were treated less favorably
because Defendants would have enforced the Code differently if the Chant were
racist. [Dkt. 146 at 16–18; Dkt. 163 at 15–17.] The Court concludes that Plaintiffs
have not met their burden as to this requirement.

      Illinois courts look to cases interpreting federal statutes with similar language
when evaluating claims under the IHRA. See M.U. by and through Kelly U., 240
N.E.3d at 457 (citing Zaderaka v. Ill. Hum. Rts. Comm’n, 545 N.E.2d 684, 687 (Ill.
1989)). In the employment context, a similarly situated individual is “directly
comparable to [the plaintiff] in all material respects.” Fuller v. McDonough, 84 F.4th
686, 691 (7th Cir. 2023) (citing Patterson v. Avery Dennison Corp., 281 F.3d 676, 680
(7th Cir. 2002)). At the same time, the inquiry used to identify a similarly situated
comparator “is flexible, common-sense, and factual” rather than requiring “a
mechanical ‘magic formula.’” Johnson v. Advoc. Health and Hosps. Corp., 892 F.3d
887, 895 (7th Cir. 2018) (citing Coleman v. Donahue, 667 F.3d 835, 841 (7th Cir.
2012)).

        Straw is instructive. Straw, a disabled individual seeking to be included as a
candidate on a primary ballot for a 2016 Congressional seat, was required to submit
a petition for his nomination containing a certain number of eligible voter signatures.
Id. at *1. After explaining that Straw had not shown that the State Board of Elections
denied him the benefits of administering election law services, the court found Straw
had not identified any candidate who did not have a disability but was treated better
than him. Id. at *7. That is, Straw had not identified any individuals who were
permitted to appear on the ballot without obtaining the required number of
signatures. Id. at *6–7. See also Ellis v. Dept. of Hum. Rts., 2020 WL 1082614 at *4
(Ill. App. Ct. Jan. 14, 2020) (“Ellis did not present any evidence that Capital One
treated similarly situated non-black or non-light-skinned persons more favorably”
because “she presented no evidence that other customers outside her protected
classes, i.e., persons of a different race or color, were permitted to use the restroom
for personal hygiene purposes or were not asked to leave after insulting Capital One
employees.”) Ellis v. Ill. Hum. Rts. Comm’n, 2020 WL 2395615 at *6 (Ill. App. Ct. May

                                           6
   Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 7 of 8 PageID #:4756




12, 2020) (petitioner “presented no evidence showing that other customers of a
different race consigned a pre-owned item with [the consignment shop] and that the
item was posted online more quickly than petitioner’s handbag or was listed as ‘new’
when it was not.”)

       Here, Plaintiffs’ primary argument for less favorable treatment relies on the
deposition testimony of various CPK, SMG and Monterrey employees and officials
who testified they would have reacted differently if the Chant had involved a racial
slur—essentially that “a mass racist chant would have been taken seriously.” [Dkt.
163 at 12; Dkt. 154 at ¶¶ 68–69, 79; Dkt. 146 at 15–17.] For instance, Plaintiffs point
to the testimony of Marty McAndrew who testified that he “would listen to
suggestions of ways to curtail a racist chant,” “would consider whether to adopt those
measures if offered,” and “would send a message along to security or police if a patron
sent a message that a KKK demonstration was going to happen at an event at Soldier
Field.” [Dkt. 163 at 12.]

      But as Defendants persuasively argue, evidence about how certain employees
would have reacted to a different email or to a different chant or demonstration is at
best hypothetical. [Dkt. 153 at 13.] It is not evidence that Defendants treated
similarly situated patrons more favorably than they did the Plaintiffs.

       Plaintiffs offer no support in the case law for a hypothetical comparator like
this, and the Court’s research has found none. Employee testimony about the
response he or she would have had to a racist chant at the Match does not reveal
substantial similarity. For example, there is no way to meaningfully compare the
email Paul sent in advance of the Match warning of the Chant to a hypothetical email
sent to the same employees warning of a racist chant. Nor does the hypothetical
comparison eliminate other important variables, such as the circumstances
surrounding a racist chant or demonstration, which are needed to isolate
discriminatory intent.

       Ultimately, the Court cannot see how Plaintiffs’ hypothetical comparison
satisfies the burden to identify a similarly situated actor outside of the protected class
who received more favorable treatment than they did. They have not identified
anyone of a different sexual orientation who raised concerns about the Chant but
received a better response. Even at a higher level of generality, they have not
identified any individual or group of individuals who requested security services in
response to a similar demonstration at a similar event but who received more
favorable treatment or a better response.

       To be sure, Plaintiffs have identified three instances where attendees were
removed from Soldier Field for Code of Conduct violations, but none involve similarly
situated patrons or similar circumstances. [Dkt. 154 at ¶¶ 67, 70.] Only one instance
occurred during the 2019 Gold Cup Final. [Id. at ¶ 67.] In that case, a Match attendee

                                            7
    Case: 1:21-cv-05581 Document #: 166 Filed: 12/31/24 Page 8 of 8 PageID #:4757




was ejected for “profane, disruptive, or abusive language” after threatening physical
violence to other attendees. [Id.] Nothing about ejecting this attendee for these
violations shows better or more favorable treatment than what Plaintiffs received
given the circumstances of the Chant. It simply demonstrates an instance at the
Match where the Code of Conduct was enforced.

       The other identified instances involving Code of Conduct violations fare no
better because they are too factually distinct to allow for a meaningful comparison.
One incident from December 2018 concerned a patron who used a racial slur toward
another person; the other incident from January 2019 involved a sexual comment
directed toward another patron. [Id. at ¶ 70.] Neither incident involved anything
resembling conduct like the Chant, nor do the parties’ submissions provide much in
the way of additional details about these incidents. As a result, they do not provide a
meaningful comparison or show better treatment of a similarly situated person.

        Plaintiffs have not identified any similarly situated individual or individuals
outside of their protected class who received more favorable treatment. As such, they
have not established evidence from which a jury could reasonably find the fourth
prima facie requirement for a public accommodation claim. Because no reasonable
fact finder could do so, Defendants are entitled to summary judgment on this claim. 6

IV.    Conclusion

     For the foregoing reasons, the Court grants Defendants’ motion for summary
judgment and denies Plaintiffs’ motion for summary judgment.

Enter: 21-cv-5581
Date: December 31, 2024



                                          __________________________________________
                                          Lindsay C. Jenkins
                                          United States District Judge

6      Defendants also propose an alternate First Amendment theory to support granting
summary judgment. As Defendants note, the Supreme Court has stated that “[w]hen a state
public accommodations law and the Constitution collide, there can be no question which must
prevail.” 303 Creative LLC v. Elenis, 143 S. Ct. 2298, 2315 (2023). The Court does not reach
or evaluate the merits of the Free Speech and forum analysis arguments raised throughout
the parties’ filings except to note that in the same case, the Supreme Court reiterated its
earlier conclusion that “there are no doubt innumerable goods and services that do not
require a First Amendment analysis.” Id. (quoting Masterpiece Cakeshop v. Colo. C.R.
Comm’n, 138 S. Ct. 1719, 1728 (2018)). The goods and services at issue in this case are not
expressive in nature, placing them beyond the ambit of cases involving public accommodation
and Free Speech.
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